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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                              - - - - - X

UNITED STATES OF AMERICA

             -       V.   -                                                           PROTECTIVE ORDER

JOSHUA ADAM SCHULTE,                                                                  17 Cr. 548 (PAC)

                                                  Defendant.

     -   -       -    -   -   -   -   -   -   -   -   -   -   -   -   -   -   -   X


PAUL A. CROTTY, District Judge:

                     WHEREAS, JOSHUA ADAM SCHULTE, the defendant, has

certain rights under the United States Constitution, federal

statutes, and the Federal Rules of Criminal Procedure, to

pretrial discovery;

                     WHEREAS, the Government recognizes it s obligation to

provide such discovery materials to the defendant, consistent

with safety considerations and the confidentiality of ongoing

investigations;

                     WHEREAS, certain of the discovery materials that the

Government intends to provide to the defendant contain materials

that, if d is seminated to third parties, could, among other

things, jeopardize the safety of others and national security,

and impede ongoing investigations;

                     WHEREAS, the Government de sires to protect the

protected materials it produces and will mark materials
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containing such information as "USG-CONFIDENTIAL";

          WHEREAS, in the interest of expediting the discovery

process, the defendant, by his attorneys Taylor Koss, Esq.,

Kenneth Smith, Esq., and Alex Spiro, Esq., consent to the entry

of this Order;

          NOW, THEREFORE, IT IS HEREBY ORDERED:

          1.     The protected materials shall be used by the

defendant, his counsel, and his counsel's agents only for

purposes of defending the charges, in connection with

sentencing, and pursuing any appeals, in this criminal action.

To the extent the protected materials are shown to additional

persons consistent with the terms set forth below, those

additional persons may only use the protected materials in

connection with this criminal action.

          2.     The Government will mark all items subject to

this protective order as "USG-CONFIDENTIAL."

          3.     The protected materials and the information and

identities contained or disclosed therein:

                 (a }   Shall be used by the defendant and his

counsel only for purposes of this action;

                 (b)    Shall not be disclosed in any form by the

defendant or his counsel except as set forth in paragraph 3(c)

below;

                 (c )   May be disclosed only by defense counsel and
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only to the following persons in connection with this action

(hereinafter "Designated Personsn):

                     (i)   the defendant, provided that defense

                           counsel maintains custody of the

                           protected materials and does not permit

                           the defendant to copy or otherwise

                           reproduce the protected materials;

                     (ii) investigative, secretarial, clerical,

                           paralegal, and student personnel

                           employed full-time or part-time by

                           defense counsel;

                    (iii) independent expert witnesses,

                           investigators, or advisors retained by

                           the defendant; and

                   (iv)    upon a motion by the defendant pursuant

                           to paragraph 5 below, to show (but not

                           provide copies of) protected materials

                           to such other persons as hereafter may

                           be authorized by the Court; and

                (d) Shall be returned to the Government or

destroyed following the conclusion of this case, including any

appeals and/or post-conviction proceedings.



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           4.    Notwithstanding paragraph 3, the protected

ma t erials may not be provided to any foreign persons or ent i ties

(even if such persons or entities are members of the defense

team) and may not be transmitted or otherwise taken outside of

the United States for any purpose .

           5.    Defense counsel may seek authorization of the

Court to show (but not provide copies of) certain specified

discovery materia ls to persons whose access to discovery

materials is otherwise prohibited by the preceding paragraphs,

if it is determined by the Court that such access is necessary

for the purpose of prepar ing the defense of the case.

           6.    Defense counsel shall provide a copy of this

protective order to Designated Persons to whom the protected

materials are disclosed pursuant to paragraph 3(c) and shall

advise such persons that he or she shall not further disseminate

or discuss the materi a l s and must follow t he terms of this

Protective Order .

           7.    To the extent the parties seek to rely on the

protected materials to file a motion to suppress or for other

relief, the relevant portion of any such motion shall be filed

under seal .    Similarly , to the extent the parties rely on the

protected materials in any other court fil i ng, the relevant



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portion of any such filing shall be filed under seal .

          8.   Nothing in this Order prohi bits the media from

requesting copies of any items that are re ceived by the Court as

public exhibits at a hearing, trial, or other proceeding .

Nothing in this Order shall preclude the Government from seeking

a further protective order pursuant to Rule 16(d) as to

particular items of discovery material.


AGREED AND CONSENTED TO :



Taylk:q.
Kenneth Smith, Esq.
Alex Spi ro , Esq.
                                                  'i-15-17
                                                 Date


Attorneys for the defendant




SO ORDERED:



THE HONORABLE PAUL A. CROTTY                     Date
United States Distric t Judge
Southern District of New York




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